                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                   No. CR06-0139

 vs.                                           REPORT AND RECOMMENDATION
                                               CONCERNING PLEAS OF GUILTY
 LAWRENCE STEVENS,

               Defendant.




        The   defendant,    by   consent,   appeared   before   the   court   pursuant    to
Fed. R. Crim. P. 11, and entered pleas of guilty to Counts 3 and 4 of the Superseding
Indictment on January 24, 2007. After cautioning and examining the defendant under oath
concerning each of the subjects mentioned in Fed. R. Crim. P. 11, the court determined
that the guilty pleas were knowing and voluntary, and that the offenses charged are
supported by an independent basis in fact containing each of the essential elements of such
offenses. The court therefore RECOMMENDS that the pleas of guilty be accepted and
that the defendant be adjudged guilty and have sentence imposed accordingly.
        At the commencement of the Fed. R. Crim. P. 11 proceeding, the defendant was
placed under oath and advised that if he answered any questions falsely, he could be
prosecuted for perjury or for making a false statement.
        The court then asked a number of questions to ensure the defendant’s mental
capacity to enter a plea. The defendant stated his full name, his age, and the extent of his
schooling. The court inquired into the defendant’s history of mental illness and addiction
to controlled substances. The court further inquired into whether the defendant was under
the influence of any drug, medication or alcoholic beverage at the time of the plea. From
this inquiry, the court determined that the defendant was not suffering from any mental


                                           1
       Case 1:06-cr-00139-LRR-JSS      Document 79      Filed 01/24/07     Page 1 of 5
disability that would impair his ability to make a knowing, intelligent and voluntary pleas
of guilty to the charges.
       The defendant acknowledged that he had received a copy of the Superseding
Indictment and that he had fully discussed these charges with his attorney.
       The court determined that the defendant was pleading guilty under a plea agreement
with the government. After confirming that a copy of the written plea agreement was in
front of the defendant and his attorney, the court determined that the defendant had read
the plea agreement. The Assistant United States Attorney then summarized the terms of
the plea agreement, and the court made certain that the defendant understood its terms.
       The court summarized the charges against the defendant, and listed the elements of
the crimes. The court determined that the defendant understood each and every element
of the crimes, and ascertained that defendant’s counsel had previously explained each and
every element of the crimes to the defendant, and defendant’s counsel confirmed that the
defendant understood each and every element of the crimes charged.
       The court then elicited a full and complete factual basis for all of the elements of
the crimes charged in Counts 3 and 4 of the Superseding Indictment.
       The court advised the defendant of the consequences of his plea, including an
extensive discussion of the maximum punishment possible and any applicable mandatory
sentencing considerations.
       The court then explained supervised release to the defendant, and advised the
defendant that a term of supervised release would be imposed in addition to the sentence
of imprisonment. The defendant was advised that as a condition of supervised release, the
court would impose a condition that he not commit another federal, state or local crime
while on supervised release and that he not possess illegal controlled substances while on
supervised release.
       The defendant was advised that if he were found to have violated a condition of
supervised release, his term of supervised release could be revoked and he could be



                                           2
    Case 1:06-cr-00139-LRR-JSS         Document 79      Filed 01/24/07    Page 2 of 5
required to serve in prison all or part of the term of supervised release without credit for
time previously served on supervised release.
       The defendant was advised that parole had been abolished.
       The defendant indicated that he had fully conferred with counsel and that he was
fully satisfied with his counsel.      The defendant's attorney had full access to the
government's discovery materials that supported a factual basis for the plea.
       The defendant was then fully advised of his right not to plead guilty and to have a
jury trial, including:
       1.     The right to assistance of counsel at every stage of the pretrial and
              trial proceedings;

       2.     The right to a speedy, public trial;

       3.     The right to have his case tried by a jury selected from a cross-section of the
              community;

       4.     That he would be presumed innocent at each stage of the proceedings, and
              would be found not guilty unless the government could prove each and every
              element of the offense beyond a reasonable doubt;

       5.     That the government could call witnesses into court, but that his attorney
              would have the right to confront and cross-examine these witnesses;

       6.     That the defendant would have the right to see and hear all witnesses
              presented at trial;

       7.     That the defendant would have the right to subpoena defense witnesses to
              testify at the trial and that if he could not afford to pay the mileage and other
              fees to require the attendance of these witnesses, the government would be
              required to pay those costs;

       8.     That the defendant would have the privilege against self incrimination, i.e.,
              that he could choose to testify at trial, but that he need not do so, and that if
              he chose not to testify, the court would, if he requested, instruct the jury that
              he had a constitutional right not to testify;

       9.     That any verdict by the jury would have to be unanimous;


                                            3
     Case 1:06-cr-00139-LRR-JSS         Document 79       Filed 01/24/07     Page 3 of 5
          10.    That he would have the right to appeal, and that if he could not afford an
                 attorney for the appeal, the government would pay the costs of an attorney
                 to prepare the appeal.

          The defendant was also advised of the rights he would waive by entering pleas of
guilty. The defendant was told that there would be no trial, that he would waive all the
trial rights just described and be adjudged guilty without any further proceedings except
for sentencing.
          The defendant was also advised of the collateral consequences of a plea of guilty,
including the loss of the right to vote, the right to serve on a jury, the right to hold public
office, and the right to possess firearms and ammunition.
          The defendant then confirmed that his decision to plead guilty was voluntary, that
the decision to plead guilty was not the result of any promises other than plea agreement
promises, that no one had promised him what the sentence would be, and that his decision
to plead guilty was not the result of any threats, force or anyone pressuring him to plead
guilty.
          The defendant then confirmed that he still wished to plead guilty, and pleaded guilty
to Counts 3 and 4 of the Superseding Indictment.
          The court finds the following with respect to the defendant’s guilty pleas:
          1.     The guilty pleas are voluntary, knowing, not the result of force, threats or
                 promises except plea agreement promises, and the defendant is fully
                 competent.

          2.     The defendant is aware of the maximum punishment.

          3.     The defendant knows his jury rights.

          4.     The defendant has voluntarily waived his jury rights.

          5.     There is a factual basis for the pleas.

          6.     The defendant is in fact guilty of the crimes to which he is pleading guilty.




                                              4
     Case 1:06-cr-00139-LRR-JSS           Document 79      Filed 01/24/07     Page 4 of 5
       Defendant was advised that a written presentence investigation report would be
prepared to assist the court in sentencing.    The defendant was asked to provide the
information requested by the United States Probation Office to prepare the presentence
investigation report. The defendant was advised of his right to have an attorney present
during this process. The defendant was told that he and his counsel would have an
opportunity to read the presentence report before the sentencing hearing, and that he and
his counsel would be afforded the opportunity to be heard at the sentencing hearing.
       The defendant was advised that the failure to file written objections within 10 days
of the date of its service would bar him from attacking this court’s Report and
Recommendation recommending that the assigned United States District Judge accept his
pleas of guilty.




                                           5
    Case 1:06-cr-00139-LRR-JSS         Document 79      Filed 01/24/07    Page 5 of 5
